                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE
CONFERENCE OF THE NAACP,
CHAPEL HILL – CARRBORO NAACP,                   CASE NO. 1:18-cv-01034-LCB-LPA
GREENSBORO NAACP, HIGH POINT
NAACP, MOORE COUNTY NAACP,
STOKES COUNTY BRANCH OF THE
NAACP, WINSTON SALEM – FORSYTH
COUNTY NAACP

                        Plaintiffs,
      v.                                               NOTICE OF APPEAL

ROY ASBERRY COOPER III, in his official
capacity as the Governor of North Carolina;
DAMON CIRCOSTA, in his official capacity
as Chair of the North Carolina State Board of
Elections; STELLA E. ANDERSON, in her
official capacity as Secretary of the North
Carolina State Board of Elections; DAVID C.
BLACK, KEN RAYMOND, and
JEFFERSON CARMON III, in their official
capacities as members of the North Carolina
State Board of Elections,

                       Defendants,
and
PHILIP E. BERGER, in his official
capacity as President Pro Tempore of
the North Carolina Senate, and
TIMOTHY K. MOORE, in his official
capacity as Speaker of the North
Carolina House of Representatives,
                 Proposed Intervenors.




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      Notice is hereby given that Philip E. Berger, in his official capacity as President Pro

Tempore of the North Carolina Senate, and Timothy K. Moore, in his official capacity as

Speaker of the North Carolina House of Representatives, Proposed Intervenors in the above

named case, hereby appeal to the United States Court of Appeals for the Fourth Circuit

from the de facto denial of their Renewed Motion to Intervene, Doc. 60 (July 10, 2019).



Dated: September 23, 2019                        Respectfully submitted,

/s/ Nicole J. Moss                               /s/ Nathan A. Huff
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                            CERTIFICATE OF SERVICE
       The undersigned counsel hereby certifies that, on September 23, 2019, I

electronically filed the foregoing Notice of Appeal with the Clerk of the Court using the

CM/ECF system which will send notification of such to all counsel of record in this matter.



                                                 /s/ Nicole J. Moss
                                                 Nicole J. Moss




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